                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION



DONALD J. TRUMP, Candidate for President of the
United States of America,

               Plaintiff,

       v.


 THE WISCONSIN ELECTIONS COMMISSION, and its
 members, ANN S. JACOBS, MARK L. THOMSEN,
 MARGE BOSTELMANN, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official capacities,
 SCOTT MCDONELL in his official capacity as the Dane
 County Clerk, GEORGE L. CHRISTENSON in his
 official capacity as the Milwaukee County Clerk,
 JULIETTA HENRY in her official capacity as the                           Case No.: 20CV1785
 Milwaukee Election Director, CLAIRE WOODALL-
 VOGG in her official capacity as the Executive Director
 of the Milwaukee Election Commission, MAYOR TOM
 BARRETT, JIM OWCZARSKI, MAYOR SATYA
 RHODES-CONWAY, MARIBETH WITZEL-BEHL,
 MAYOR CORY MASON, TARA COOLIDGE, MAYOR
 JOHN ANTARAMIAN, MATT KRAUTER, MAYOR
 ERIC GENRICH, KRIS TESKE, in their official
 capacities; DOUGLAS J. LA FOLLETTE, Wisconsin
 Secretary of State, in his official capacity, and TONY
 EVERS, Governor of Wisconsin, in his official capacity.

               Defendants.




                                    MOTION IN LIMINE


       Defendant Governor Tony Evers (“Evers”), who is joined by all the named Defendants in

this matter, moves to exclude any testimony – be it written or oral – from the following witnesses

listed on Plaintiffs Witness List: (1) Bartholomew (“Bart”) Williams; (2) Daniel Miller; and (3)
David Bolter. These three witnesses do not have any relevant information that bears on the

outcome of this case, and their testimony should therefore be excluded under Federal Rules of

Evidence 401 and 403.

        As indicated in Plaintiff’s Witness List—and confirmed on a meet and confer with counsel

for Plaintiff today—all three witnesses were either observers or ballot counters at the City of

Milwaukee Central Count on November 3, 2020 and are expected to testify about their experience

at the City of Milwaukee Central Count on Election Day. See Doc. 51 (Plaintiff’s Witness List)

at pgs. 5-7. Even if these witnesses’ observations could at some point in time have had any

relevance to this case, that relevance flies out the window now that there has been a complete

recount of the election in Milwaukee. Put differently, any issues these witnesses plan to testify

about have already been supplanted by the recount, which was of course requested by the Plaintiff

in this case.

        When asked about the relevance of these witnesses’ testimony during the parties’

conference today, counsel for Plaintiff explained the following: (1) He was not prepared to discuss

the substance of their testimony in any detail; (2) But he understood them to be testifying about

their experience at Central Count in the City of Milwaukee on Election Day; and (3) They may

also testify about how—in their opinion—the outcome of the presidential election would “likely”

have been different absent the issues being complained about. (1) is of course a failure of Plaintiff’s

counsel to be prepared to properly meet and confer; which is particularly egregious where it is

Plaintiff who has requested a rushed schedule to overturn the will of nearly 3.3 million

Wisconsinites. (2) Runs directly into the recount issue addressed above. And (3) is obviously pure

speculation. None of these persons purport to have first-hand knowledge, let alone any expertise,

of how any Wisconsin voter would have voted under a different set of rules that would qualify




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them to testify under oath to these statements in open court. And any attempt to bring such

testimony should be precluded under Federal Rules of Evidence 401, 403, and 701.

       Accordingly, Defendant Evers, who is joined by all the named Defendants in this matter,

requests that this testimony be excluded from the upcoming trial.

       All Defendants have authorized us to represent that they join our motion.

       Respectfully submitted this 9th day of December 2020.

Dated: December 8, 2020                     Respectfully submitted,

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